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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

 DR. ALLEN J. ZARNOW                               §
                                                   §    No. 7:01-CV-128-KA
 V.                                                §    ECF
                                                   §    Referred to the US Magistrate Judge
 CITY OF WICHITA FALLS, ET AL.                     §

                  Memorandum and Order on Motions for Summary Judgment

          Before the Court are Plaintiff’s Motion for Partial Summary Judgment (Docket No. 169)
 and Defendants’ Motion for Summary Judgment (Docket Nos. 171). Extensive responses and
 replies with extensive appendices have been submitted by the parties. The parties have consented
 to trial before the Magistrate Judge. (Docket No. 38).

         This is a civil rights case originally brought under title 18 U. S. Code §1983 by Dr. Allen
 Zarnow, now deceased, for compensatory and punitive damages for an unreasonable search and
 of his house and office by police officers of the City of Wichita Falls and their unreasonable
 seizure of items of his personal property during the search. Dr. Zarnow sued a number of the
 officers who obtained warrants for the search of his house and his office, the Chief of Police and
 the City itself. The City, the Chief of Police and the individual officers appealed this court’s
 denial of qualified immunity. During the pendency of this case, Dr. Zarnow died. Following his
 death during the pendency of this case, his wife, Delores A. Zarnow, as the executor of his
 estate, was substituted as the Plaintiff.

         On an intermediate appeal, the Court of Appeals determined that the search conducted at
 Dr. Zarnow’s house was unconstitutional due to the lack of probable cause for the issuance of
 the warrant, but that the individual officers who conducted the search had qualified immunity.
 The Court of Appeals dismissed the appeal by the City and the Chief of Police for want of
 jurisdiction. Following issuance of the 5th Circuit’s mandate, this court entered an order (Docket
 No. 163) dismissing Police Chief Kenneth Coughlin as an individual party defendant, leaving the
 City and Coughlin in his official capacity as the only remaining defendants.

         The factual background of the search and seizure events that gave rise to this suit is set
 forth at length in the 5th Circuit’s decision 1on the appeal of the qualified immunity issues in this
 case and will not be repeated here.

         Since the time of the Original Complaint and following the intermediate appeal,
 Plaintiff’s claims have been scaled down dramatically. At the inception, Plaintiff sought


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            City of Wichita Falls et al v. Zarnow, 500 F.3d 401 (5th Circuit 2006).

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 personal injury damages as well as pecuniary compensation for the embarrassment and
 effrontery and loss of employment Dr. Zarnow sustained as a result of the illegal searches of his
 office, home and lake house by swarms of law enforcement officers and the seizure and public
 display of his legally purchased and stored firearms, ammunition and personal property items
 and the eventual loss and destruction of some of these items. Now, it is only the pecuniary value
 of the loss of the ammunition and the value of the few items of Zarnow’s personal property that
 were not returned by the City that supports his property damage claims, but the personal injury
 claims are still within the scope of the pleadings. This scale down has occurred in part as a result
 of the dismissal of claims against the individual officers on qualified immunity grounds leaving
 punitive damages unrecoverable against the City and/or the Chief of Police, the sole remaining
 defendants and in part because the seized firearms were previously returned to Zarnow and the
 seized ammunition was destroyed pursuant to an agreement reached between Zarnow and the
 office of the District Attorney of Wichita County, Texas. The decision of the Court of Appeals
 further precluded a finding that the seizure of the firearms, explosives and components at
 Zarnow’s Office was unreasonable since seizure of those items were expressly directed in the
 Zarnow search warrants.2 All that is left of the subject matter of Plaintiff’s damage claims is the
 seizure of the currency, prescription drugs, gold and silver bars, and guns at his home.

         In summary, by her Motion for Partial Summary Judgment, Plaintiff asserts that at the
 time of the Zarnow search, as to search and seizure matters within his purview, Chief Coughlin
 was a final policy maker. As such final policy maker he had established a binding, unreviewed,
 unwritten policy arising from a custom of allowing police officers during a search to seize
 indiscriminately any items of personal property in “plain view” that might be evidence of or
 fruits of some crime. Plaintiff says that the policy allowed officers to seize the items whether or
 not the officer seizing the property could then or later identify or articulate the crime as to which
 the seized items were evidence or fruits. Further, since the search warrant for Zarnow’s home
 was not valid due to the absence of probable cause, the search made after consent was withdrawn
 by Zarnow was a violation of Zarnow’s Constitutional rights.3 And further the seizure of items
 not even mentioned within the four corners of the warrant itself (currency, prescription drugs,
 and silver) was unreasonable and caused the damages to Zarnow. Plaintiff asserts that it was the
 unreasonable, illegal expansion of the “plain view” doctrine of the Chief’s policy that was the


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            The warrant seizure scope read as follows: “VARIOUS TYPE OF
 EXPLOSIVES, ASSORTED EXPLOSIVE TRIGGERING DEVICES, ANY PROHIBITED
 WEAPONS, WRITTEN RECORDS, BOOKS, NOTES AND DOCUMENTS INDICATING THE
 SALES PURCHASES AND/OR TRANSACTIONS OF EXPLOSIVE DEVICES. ANY PAPERS
 OR DOCUMENTS INDICATING THE TRANSPORTARTION [sic]OF AND/OR PURCHASE OF
 PROHIBITED WEAPONS. WRITTEN DOCUMENTS INDICATING POSSESSION OF AND/OR
 DOMINION AND CONTROL OF THE HERE AND AFTER DESCRIBED PREMISES, SUCH AS
 UTILITY BUILDINGS, RECEIPTS, MAIL ETC. WRITTEN DOCUMENTS INDICATING
 POSSESSION OF OR OWNERSHIP OF ANY OTHER PROPERTIES, COMPUTERS AND ANY
 AND ALL CONTENTS INCLUDING ALL FILES. ANY PAPERS OR DOCUMENTS
 INDICATING THE LEASE OF STORAGE FACILITIES OF ANY TYPE.”
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            So found by the District Court and the Court of Appeals, Zarnow case, supra p. 409.

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 moving force behind the seizure of the unmentioned items and their eventual loss resulting in
 Plaintiff’s pecuniary and personal injury damages. Finally, even if Coughlin was not a “final
 policy maker”, there was a custom among the members of the Department to indiscriminately
 seize property ostensibly “in plain view” but without being related to the crime or crimes being
 investigated for which the items were seized. “And”, says the Plaintiff, “the City knew about the
 custom and was consciously indifferent to it.

         In summary, the City asserts that under state and local law, Chief Coughlin was not a
 policy maker, much less a final policy maker. Only the City Council and through it the City
 Manager were permitted under Texas state law and the City’s own charter to make policy
 binding on the City; that the City had adopted as its search and seizure policy the standards set
 out in Article 18.01 of the Texas Code of Criminal Procedure which was in effect at the time of
 the Zarnow search (state law) ; that the City Council had never expressly delegated to the Chief
 of Police the authority to nor did he establish any formal or by custom any informal search and
 seizure policy, much less a “plain view” policy, much less an unreasonably broad “plain view”
 policy; that the items seized during the Zarnow search were in “plain view”and the officers
 seizing the items reasonably thought at the time that the items were evidence or fruits of a crime
 or crimes. Hence, says the City, the seizure of the items was not unreasonable and hence, not a
 constitutional violation and, besides, and besides the City was unaware of the expansive “plain
 view”custom, if it existed, and was not consciously indifferent to it. Finally, under Monell4 and
 its progeny, something more than negligence was required for the City to be liable to Zarnow for
 the loss or non-return of the seized items. And Zarnow has no evidence to show any personal
 injury damages and the loss of the other items was de minimus at best.

       With respect to municipal liability for constitutional violations by its employees, Judge
 Kinkeade observed in a recent §1983 case5 the following:

        “Although municipal liability exists under 42 U.S.C. § 1983, there is no
        respondeat superior liability for a constitutional deprivation by its
        employees. Bd. Of County Commr’s of Bryan County, OK v. Brown, 503 U.
        S. 397, 403 (1997); Pineda v. City of Houston, 291 F. 3d 325, 328 (5th Cir.
        2002); citing Madrid v. Anthony, ___F. Supp.2d ___, 2007 WL 2782360 *4
        n.16 (S.D..Tex. 2007) (municipality cannot be held liable under section
        1983 because it employs a tortfeasor under a respondeat superior theory).
        Rather, the city’s liability under section 1983 depends on proof of three
        elements: a policymaker, an official policy, and a violation of the plaintiff’s
        constitutional rights whose “moving force” is the policy or custom. Monell
        v. Dept. of Soc. Svcs., 436 U.S. 658, 694, 98 S.Ct. 2018, 56 L.Ed.2d 611
        (1978); Piotrowski v. City of Houston, 237 F.3d 567, 578 (55th Cir.), cert.
        Denied, 534 U.S. 820, 122 S.Ct. 53, 151 L.Ed 2d 23 (2001).”

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            Reed v. City of Garland, Civil Action No 3:04-CV-239-K (N.D. Tex. 2007)

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                                   .       .      .
           “Municipal policy for the purposes of section 1983 liability may be found
           in a policy statement, ordinance, regulation or decision that is officially
           adopted and promulgated by the municipality’s lawmaking officers or by
           an official to whom the lawmakers have delegated policy-making authority.
           Johnson v. Deep East Texas Regional Narcotics Trafficking Task force,
           379 F.3d 293, 309 (5th Cir. 2004), citing Johnson v. Moore, 958 F.2d 92,94
           (5th Cir. 1992). Alternatively, municipal policy under section 1983 can be a
           persistent, widespread practice of municipal officials or employees, which,
           although not authorized by officially adopted and promulgated policy, is so
           common and well settled as to constitute a custom that fairly represents
           municipal policy. Id. Actual or constructive knowledge of such a custom
           must be attributed to the governing body or the municipality or to an
           official to whom that body had delegated policy-making authority.” Pp.2-3.

         With respect to determining who within a municipality has “final policy making
 authority” the Supreme Court has directed the courts to look to state and local law6 but has
 evinced no preference for any single body as the source of municipal policymaking. The
 Supreme Court has instead remarked that “one may expect to find a rich variety of ways in
 which the power of local government is distributed among a host of different officials and
 official bodies. Gros v. City of Grand Prairie, 181 F.3d 613, 615 (5th Cir. 1999). The
 identification of those officials whose decisions represent the official policy of the local
 governmental unit is itself a legal question to be resolved by the trial judge. “Reviewing the
 relevant legal materials, including state and local positive law, as well as ‘”custom or usage’”
 having the force of law” St. Louis v. Praprotnik, 485 U. S. 112, 108 S. Ct. 915, 99 L. Ed.2d 107
 (1988).

         To convince the court that Chief Coughlin was not a final policy maker the Defendants
 present to the court that the City of Wichita Falls is a home rule city which derives its powers
 from the Texas Constitution and whose broad powers are limited only by the City Charter, the
 Texas Constitution or by State statute, citing section 5 of Article 11 of the Texas Constitution
 and Section 51.072 of the Texas Local Government Code. Further, the City Charter 7 expressly
 provides that “the city council shall set policy for the City by the enactment of ordinances, the
 passage of resolutions, the adoption of a budget and the passage of such other rules as necessary
 to establish city policy under the laws and Constitution of the State of Texas.”8 The City Charter
 further provides that the City Manager is delegated the authority to prescribe operational rules



           6
               Jett v. Dallas Ind. School District, 109 S.Ct. 2702, 491 U.S. 701, 105 L.Ed. 2d 598
 (1989).
           7
               App. pp. 1-105, Docket No. 171
           8
               App. p.81, Docket No.171

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 and regulations to effectuate that policy9 and reserves to the City Manager the right to supervise
 the Department Heads10 such as the Chief of Police established by Ordinance 998 in 1927.11
 Elsewhere in the Charter, as amplified by subsequent ordinances, the City Manager had the
 power to appoint and to hire and fire the Chief of Police. The general authority of the Chief of
 Police was proscribed and constrained as follows:
        “The Police Department shall be under the direction of a Chief of Police, who
        shall be appointed by the City Manager and who, subject to the supervision of
        the City Manager and to such rules, regulations and orders prescribed by the City
        Manager not inconsistent with the charter and ordinances of the City, shall have
        immediate control and direction of such Department. He shall be vested with the
        disciplinary power of the Department. Such Department shall be composed of
        the Chief of Police, a night captain, sergeant, detectives, patrolmen, and other
        officers and employees as the City Manager may determine.”12

         On paper, there is no express delegation of authority to the Chief of Police to promulgate
 policy, much less any final policy. But the Plaintiff notes that the Charter and Ordinances of the
 City do not expressly negate the authority of the Chief of Police to create and/or promulgate
 policy for his Department with respect to matters of Department concern, so long as those
 policies do not conflict with policies of the City Manager or the City Council.

         Where the State and local positive law does not expressly answer where and under what
 circumstances the Chief of Police may make final policy, we must look at actual practice within
 the Department and the City. Plaintiff is unable to point to any express delegation of authority to
 Chief Coughlin to create any policies binding on the City but instead relies on an alleged custom
 and usage established under Coughlin’s predecessor in office. The former Chief promulgated at
 least two “General Orders” relating to aspects of law enforcement within the Department that
 remained unchanged by the City Manager or the City Council and still remained in force or
 effect at the time of the Zarnow searches. The first of these General Orders (Exhibit 3, Docket
 No.169) was numbered 200.003, dated March 27, 1987 with an effective date of September 15,
 1987, titled Preliminary and Followup Investigations by Patrol Officers, Command of the Crime
 Scene, Media Relations at a Crime Scene. In the first Section of the General Order it is stated:
            “A. It is the policy of this department for Patrol Section Officers to respond
            to all complaint calls and conduct preliminary investigations....” (emphasis
            provided).

        Throughout this General Order the provisions used the imperative words “shall” or “will”


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             App. p. 29, Docket No. 171
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             App. p. 105, Docket No. 171
        11
             App. pp.151, Docket No. 171
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             App. pp.151-52, Docket No. 171

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 as directives toward the officers conduct in the various aspects of law enforcement investigation
 activities referenced therein. The General Order bears the signature of the then acting Chief of
 Police.

         The second of these General Orders (Exhibit 2, Docket No. 169) was numbered 100.035,
 dated March 15, 1987 with an effective date of June 1, 1987, titled Property, Reception and
 Storage of Property, Disposition of Department-Owned Property, Narcotics and Dangerous
 Drugs, Reception and Storage, and Disposition of. In the First section of this General Order it is
 stated:
         “A. It is the policy of this Department that all items of an evidentiary nature, found
         or recovered property, contraband, and department stores be entered into the property
         room...” (emphasis provided)

 And, as with the previously mentioned General Order, this one too used the imperative words
 “shall” and “will” throughout its provisions. This General Order also bears the signature of the
 then acting Chief of Police.

         I find that these General Orders clearly established “policy” within the Department
 binding upon the officers within the Department with respect to the discharge and manner of
 discharge of certain of their law enforcement duties. These policies were final policies until
 reviewed, altered, changed or amended by the City Manager an/or the City Council as was their
 unexercised right, power and prerogative. The policies evidenced by and incorporated in the
 General Orders were clearly promulgated by the then acting Chief of Police and they remained
 unchanged or repealed and perhaps even unreviewed by the City Council or the City Manager.
 And until reviewed, altered, amended or repealed, they had the force of law within the Police
 Department of the City. Their promulgation and adoption by the Chief of Police evidence the
 establishment of a custom for the Chief of Police of the City of Wichita Falls to formulate and
 propagate formal policies binding within the Police Department touching upon areas of law
 enforcement activities. While this custom of allowing the Chief of Police to formulate or
 establish policy within the Department was not an express delegation of final policy-making
 authority to the Chief of Policy, it was at least an informal delegation of such final policy-
 making authority and gave the Chief implied authority to formulate and enforce policy.
 Therefor, I conclude that with respect to law enforcement activities of officers within the Police
 Department of the City of Wichita Falls at the time of the Zarnow searches, Chief Kenneth
 Coughlin was a potential final policy maker.

         The issue then is whether Chief Coughlin actually created or established any policy
 (formal or informal) that was the moving force behind the constitutional violations. Plaintiff
 cannot point to any formal policy such as a General Order promulgated by the Coughlin with
 respect to the scope and manner of seizures of property during a search. Rather than a formal
 policy, Plaintiff claims that Coughlin as a final policy maker condoned or allowed officers to
 seize items beyond the scope of the express language of a search warrant under an impermissibly
 broad “plain view” theory, thereby creating policy by custom or usage having the force of law.
 Citing the 5th Circuit’s language in Gros, supra, in support of this proposition, Plaintiff presents

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 excerpts from the depositions of several of the officers who participated in the search at
 Zarnow’s house and excerpts from Chief Coughlin’s own deposition.

          Officer Dilbeck who participated in the house search testified on his deposition that he
 was familiar with the “plain view” doctrine by which “If an officer observes something in plain
 view that is an obvious violation or something, you know, that’s against the law, an officer has
 the right to seize that object or whatever.” To explain the justification for seizing Dr. Zarnow’s
 currency that he kept at his home, Dilbeck opined, “Well, that’s an unexplained wealth and large
 amounts of cash sometimes are fruits of crime, some other crime, and with the fact that there
 were numerous drug items around, all kinds of drugs throughout the house, there is a possibility
 that this man might be selling dope, being a doctor or not. So money could be money derived
 from sale of drugs or from the sale of weapons, so at this point it was just the beginning of our
 investigation, we took the money, you know, like I say, it’s something that can be returned
 later...So that could be the justification for seizing all the money throughout this.”

         Again after being asked about the seizure of gold coins, Canadian gold sets, and a block
 of silver, Dilbeck says “We don’t know what all crimes Dr. Zarnow has committed or might
 have committed. So it’s just based on further investigation. We may determine later that he’s
 selling drugs and therefore a lot of this stuff would have been seized.

         When further examined as to the justification for seizing every gun in the house , Dilbeck
 explained that one of the officers involved in the search “contacted the district attorney’s office
 and advised them of just of all the things that were at the house and was advised by Jerry Taylor,
 I believe it was, from the DA’s office to go ahead and take all of the items at that time, all of the
 weapons and items we thought might be explosive devices at that time.”

          Explaining the justification of seizing sports model shotguns, Dilbeck testified
 “Shotguns? Well, they could be prohibited, you know, more investigation could be required to
 determine if they were or not. You know, checking the serial numbers to make sure they were
 not stolen. Just the mass quantity of them there is no way we could do that at the scene at that
 time at night. Lots of reasons could make a shotgun a prohibited weapon, but just a shotgun in
 and of itself is not generally a prohibited weapon...Like I say, we took all the weapons based on
 what the DA’s office told us and again we are in the beginning stages of our investigation...My
 answer is going to be the same for every gun you’re going to ask about, so we could cut this a lot
 shorter.”

 The second officer to be deposed, Officer Kendall, who also participated in the search of Dr.
 Zarnow’s home, explained the “plain view” doctrine in this manner:
       “If a peace officer is in a place that he has a legal right to be, and he observes
       something that he thinks is contraband or violates a law or is a piece of evidence,
       then he doesn’t need a search warrant to seize the item. That’s a basic, condensed
       form of what that says.”
 He goes on to testify that he is not aware of any requirement that an officer contemporaneously
 document his reasoning or articulate his justification for seizing an item saying:

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          “I don’t think it’s spelled out anywhere that I know of. As far as plain view and why
         and item is seized or the reason, I’m not aware of any place where it’s spelled out that
         they document their reasoning.”
 As to the justification for seizing the currency, Kendall opined;
          “This item along with the other currency that was seized early in our investigation.
         The currency could have been to be used for purchase explosive weapons or devices
         or prohibited weapons or it could have been from the sale of explosive weapons,
         prohibited weapons, or even controlled substances or dangerous drugs. So it was
         taken into custody at this time pending further investigation.”
 As to justification for seizing the sports model shotguns, Kindall stated;
         “The sheer volume of weapons that he had at his residence, it was not feasible to
         check all these weapons individually and to see about the legality of possession of
         them. Often weapons can be converted for other purposes such as launching
         explosives or converted to full automatic. These often have to be checked by a
         qualified person or and at a gun range where it’s safe to do so.”

         Chief Coughlin in his deposition testimony confirmed his familiarity with the “plain
 view” doctrine which he summarized:
          “Well, basically, if in the course or scope of an officer’s duties they come across
         something that’s sitting out in the open that would not–you know, would be
         obviously, say, something of a contraband nature or of an evidentiary nature or
         something of a particular crime, that’s generally accepted that you don’t—you can
         look at it and seize it if it’s something that’s there in plain view. “They would have to
         legally be where they would–where they are for a legal reason....”
 As to justification for the seizure of an item, Coughlin’s deposition testimony went as follows:
         Q.      Does the reasoning for seizing the item need to be immediately apparent?
         A.      Not necessarily.”
         Q.      If an item is seized under the plain view doctrine, what would be the
                 process for documenting the officer’s reason in seizing it?
         A.      Usually through the course of the investigation that would be included in
                 some—some type of form during that investigation as to what the–what
                 the reason
                 of what they seized was for.
         Q.      What type of form?
         A.      Well, I say in some form. I mean...
         Q.      Okay.
         A.      –probably generally in–somewhere written in the narrative or some
                 description or something along that lines.
         Q.      But you do require that they describe their reasoning in seizing that item
                 when they did?
         A.      I wouldn’t say that we require it.”

        Based upon these testimonial statements in the depositions of Chief Coughlin and
 Officers Dilbeck and Kendall, Plaintiff argues that an overly expansive “plain view” seizure
 policy had been established by custom and usage within the Wichita Falls police department,
 which policy had the force of law. Such a policy was impermissibly broad argues the Plaintiff,

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 because it violated the more rigid standards articulated by the United States Supreme Court in
 Arizona v. Hicks, 480 U. S. 321, 107 S. Ct, 1149, 94 L. Ed. 2d 347 (1987) and its progeny. Under
 Hicks, probable cause is required to invoke the “plain view” doctrine as it applies to seizures.

         I find that Coughlin’s, Dilbeck’s and Kendall’s deposition testimony reflected that those
 officers believed and acted upon an interpretation of the “plain view” doctrine that did not
 require that the officer seizing items outside the scope of an issued search warrant to have
 “probable cause” to believe that the item was a evidence of, or fruits of, or instruments of, or
 constituted a crime but could instead rely solely upon a “suspicion.” The warrant for the search
 of Dr. Zarnow’s home was not supported by probable cause.13 The scope of the items ostensibly
 authorized under the warrant to be seized were weapons and explosive devices, not currency,
 drugs, coinage, gold or silver. If the officer’s had a right to be where they were because they
 were not aware of the deficiencies in the warrant under which they were conducting the search
 and had the right to see what they saw, they did not have the right to seize items that they did not
 have probable cause to believe were the forbidden items, forbidden fruit, of evidence to
 forbidden activities. There was no exhibition of “exigent circumstances” to proceed with the
 seizure of these items without first articulating probable cause to a detached magistrate to
 support the issuance of a warrant. There has been no showing of “special operational
 necessities” for the seizure to proceed without a warrant.

         Post-seizure speculation several years after the seizures as to what an officer might have
 thought at the time of seizure is insufficient to support a seizure of items outside the scope of a
 warrant, whether the warrant was or was not supported by probable cause and whether or not the
 officers knew the warrant lacked probable cause or not. This deficiency applies not only to the
 currency, the coinage, the silver block, and the drugs (prescription or not) but also the guns (like
 the shotguns) that were not clearly altered or modified in some way as to convert them into
 prohibited weapons. I conclude that the seizure of these items was an unconstitutional
 unreasonable seizure.

         But this conclusion does not determine the issues before the court as I do find that
 Plaintiff has failed to present any evidence that these officer’s interpretations of the scope and
 parameters of the “plain view” amounted to a policy of the police department or of the City of
 Wichita Falls. A mere common misunderstanding of the permissible scope of the “plain view”
 doctrine does not convert that shared misunderstanding into “policy” for which a municipality
 may be held liable. This misunderstanding evidenced by the deposition testimony of these
 officers does no rise to the “force of law.” Plaintiff has not demonstrated that there were any
 other occurrences within the community where this misunderstanding of the “plain view”
 doctrine led to an impermissible seizure. Nowhere is there proof that this misunderstanding is
 wide spread or that seizures under this interpretation are well accepted. Proof of random acts or
 isolated incidents is not sufficient to show the existence of a custom or policy. Isolated
 violations are not the persistent, often repeated constant violations that constitute custom or
 policy as required for municipal § 1983 liability. Campbell v. City of San Antonio, 43 F.3d 973,
 977 (5th Cir. 1995). There is no showing that this misinterpretation was general or widespread


        13
                Zarnow, supra note1, at page 409.

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  throughout the police force. Fraire v. City of Arlington, 957 F.2d 1268, 1278 (5th Cir.), cert.
  denied, 506 U.S. 973, 113 S.Ct. 462 (1992). That the chief of police himself was under the same
  misunderstanding did not make it the policy for his department. Negligence or stupidity alone
  does not make the City liable.

          As regrettable as the unconstitutional invasion of Dr. Zarnow’s home and the seizure of
  Dr. Zarnow’s shotguns, currency, coinage, gold, silver, and drugs were, it was not actionable.
  Plaintiff’s Motion for Partial Summary Judgment is denied. Defendants’ Motion for Summary
  Judgment is granted.

         So ORDERED this 25th day of February, 2009.




                                              _____________________________________
                                              UNITED STATES MAGISTRATE JUDGE




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